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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

JASON FRANKLIN,                                         )
                                                        )
        Plaintiff,                                      )
                                                        )       Case No. 21-cv-00413
v.                                                      )
                                                        )
CITY OF ST. CHARLES,                                    )
MISSOURI,                                               )
                                                        )
        Defendant.                                      )

                                     NOTICE OF REMOVAL

        COMES NOW Defendant City of St. Charles, Missouri (“City” or “Defendant”) and,

pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, hereby files its Notice of Removal of the

action styled Jason Franklin v. City of St. Charles, Missouri, Case No. 2111-CC00151, pending

in the Circuit Court of St. Charles County, Missouri, to the United States District Court for the

Eastern District of Missouri. As grounds for removal, Defendant respectfully states as follows:

                                         INTRODUCTION

        1.       Plaintiff has filed a wrongful discharge lawsuit (the “Petition”) in the Circuit Court

of St. Charles County, Missouri, Case No. 2111-CC00151.

        2.       The City was served with a copy of the Petition on March 9, 2021.

        3.       This Notice of Removal is filed within thirty (30) days after the City was served with

a copy of the Petition. The City has not filed any responsive pleadings in the Circuit Court of St.

Charles County, Missouri, prior to filing this Notice of Removal. This Court embraces the place where

such action is pending.

        4.       This action is timely removed pursuant to 28 U.S.C. § 1446(b).
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        5.      All process, pleadings or papers served on Defendant in this action are attached

hereto collectively as Exhibit 1 and are incorporated herein by reference.

                                    STATE COURT LAWSUIT

        6.      In the Petition, Plaintiff asserts wrongful discharge claims: for judicial review

pursuant to the Missouri Administrative Procedure Act (Count I); and for alleged violation of the

Missouri Whistleblower Statute (Count II). (See Petition, Ex. 1, passim.)

        7.      Plaintiff’s claims arise from the termination of his employment with the City.

        8.      When terminating his employment for conduct unbecoming, the City relied upon Rule

12.5 of the Employee Personnel Manual of the City of St. Charles. (See Petition, ¶ 39)

        9.      Plaintiff alleges that the City’s “reliance on rule 12.5 of the Employee Personnel

Manual of the City of St. Charles violates the due process clause of the 14th Amendment of the United

States Constitution and Section 10 of Article 1 of the Missouri Constitution, in that, on its face and as

applied it, is vague and ambiguous as to what constitutes ‘conduct unbecoming.’” (Id.)

        10.     As such, Plaintiff alleges that his termination was “unauthorized by law” and was

“unconstitutional.” (Id. ¶ 46)

                            FEDERAL QUESTION JURISDICTION

        11.     Jurisdiction in this Court is proper because Plaintiff’s claim in Count I arises under,

or necessarily depends upon a construction of, the Constitution of the United States.

        12.     Under 28 U.S.C. § 1441(a), “any civil action brought in a State court of which the

district courts of the United States have original jurisdiction, may be removed by the defendant or the

defendants, to the district court of the United States for the district and division embracing the place

where such action is pending.” 28 U.S.C. § 1441(a).




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       13.     “The district courts shall have original jurisdiction of all civil actions arising under

the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. “Federal question

jurisdiction exists if the well-pleaded complaint establishes either that federal law creates the cause

of action or that the plaintiff’s right to relief necessarily depends on resolution of a substantial

question of federal law.” Great Lakes Gas Transmission Ltd. Partnership v. Essar Steel Minnesota

LLC, 843 F.3d 325, 329 (8th Cir. 2016).

       14.     “A plaintiff’s characterization of a claim as based solely on state law is not

dispositive of whether federal question jurisdiction exists.” Peters v. Union Pac. R. Co., 80 F.3d

257, 260 (8th Cir. 1996). Indeed, the Eighth Circuit has held that “[f]ederal jurisdiction may be

found from a complaint if adjudication of a state claim would turn on a federal constitutional or

other important federal question, even where only state law issues have been pled.” Pet Quarters,

Inc. v. Depository Tr. & Clearing Corp., 559 F.3d 772, 779 (8th Cir. 2009).

       15.     For example, in Country Club Ests., L.L.C. v. Town of Loma Linda, 213 F.3d 1001,

1002 (8th Cir. 2000), the plaintiffs filed a state-court complaint challenging “the legality of various

zoning and taxing actions taken by the Town.” Although the complaint was almost entirely based

upon Missouri law, the plaintiffs alleged they “were not given proper notice of the hearing as

required by the Statutes and Constitution of Missouri and the Constitution of the United States of

America, including those provisions which prohibit the taking of property without due process of

law, which process requires proper notice.” Id. at 1003. Based upon this allegation, the town

removed to federal court, and the district court denied the plaintiffs’ motion to remand. Id.

       16.     On appeal, the Eighth Circuit held that “the District Court correctly denied the

motion to remand.” Id. The court reasoned that “[t]he reference to the Constitution of the United

States is unequivocal. If the Due Process Clause of the Fourteenth Amendment is given one




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construction, the claim will prevail; if it is given another, the claim will fail. This is a paradigm

case for arising-under jurisdiction.” Id. The court further reasoned that it was immaterial that “most

of [the plaintiffs’] complaint alleges violations of state law.” Id.; see also Hammond v. City of

Ladue, No. 4:10CV1977 JCH, 2010 WL 5392831, at *3 (E.D. Mo. Dec. 21, 2010) (holding petition

removable on federal question grounds where it invoked United States Constitution in asserting

state law claims).

          17.   Based on the express allegations in the Petition, this Court has federal question

jurisdiction. Specifically, Plaintiff alleges that his termination was “unconstitutional” because, on

its face and as applied, “rule 12.5 of the Employee Personnel Manual of the City of St. Charles

violates the due process clause of the 14th Amendment of the United States Constitution[.]”

(Petition, ¶¶ 39, 46)

          18.   As with the plaintiffs in Town of Loma Linda, Plaintiff’s reliance on the

Constitution of the United States is unequivocal. See Town of Loma Linda, 213 F.3d at 1003. And

the Due Process Clause of the Fourteenth Amendment is alleged to provide the predicate for

judicial review under the Missouri Administrative Procedure Act, §536.150 R.S.Mo. Because the

resolution of Plaintiff’s claim hinges upon a construction of the United States Constitution, this

Court has federal question jurisdiction.

          19.   An action within this Court’s federal question jurisdiction is removable without

regard to the citizenship or residence of the parties. Caterpillar Inc. v. Williams, 482 U.S. 386, 392

(1987).

          20.   This Court also has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over

Plaintiff’s alleged Missouri Whistleblower Statute claim in Count II, or any other alleged state-law




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based claim, because that claim is part of the same case or controversy as the claim that Plaintiff has

asserted in Count I relying upon the United States Constitution.

        21.     As such, this Court has jurisdiction over both of Plaintiff’s claims.

                                               NOTICE

        22.     Removal of this action is not prohibited by 28 U.S.C. § 1445.

        23.     On this date, the City is filing a Notice to Clerk of Removal to the Clerk of the Circuit

Court of St. Charles County, Missouri. A copy of this Notice to Clerk will be electronically filed with

this Court.

        24.     On this date, Defendant is mailing and emailing a Notice to Plaintiff, through his

counsel, stating that a Notice of Removal to the Clerk of the United States District Court for the

Eastern District of Missouri was filed, and serving a copy of this Notice of Removal upon Plaintiff.

A copy of this Notice to Plaintiff will be electronically filed with this Court.

        25.     Accordingly, this action may be properly removed to this Court, and no further

proceedings should be had in the state court.

                                           CONCLUSION

        THEREFORE, the City hereby removes this case to the United States District Court for

the Eastern District of Missouri, respectfully requests that no further proceedings be had in the

Circuit Court for St. Charles County, Missouri, and requests that this Court grant such other and

further relief as it deems just and proper.




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Dated: April 8, 2021                                  Respectfully submitted,

                                                      LEWIS RICE LLC

                                                      /s/ Brian P. Pezza
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                                                      Attorneys for the City of St. Charles, Missouri

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 8th day of April, 2021, a true and correct copy
of the foregoing was electronically filed and served via email and U.S. Mail upon:



                               Christopher B. Graville, #53187
                               Nathan K. Bruns, #71812
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                                                             /s/ Brian P. Pezza
                                                      Brian P. Pezza




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